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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                 :
THE TRUSTEES OF PRINCETON                        :
UNIVERSITY,                                      :    Civil Action No. ________________
                                                 :
                         Plaintiff,              :
                                                 :
      v.                                         :
                                                            COMPLAINT &
                                                 :
TOD WILLIAMS BILLIE TSIEN                               DEMAND FOR JURY TRIAL
                                                 :
ARCHITECTS, LLP; JACOBS
ARCHITECTS/ENGINEERS, INC.; and                  :
JACOBS CONSULTANCY INC.,                         :     (Document Electronically Filed)
                                                 :
                         Defendants.             :
                                                 :


        Plaintiff, The Trustees of Princeton University (“Princeton” or “Plaintiff”), a private,

non-profit educational institution, brings this Complaint against Defendants Tod Williams Billie

Tsien Architects, LLP (“TWBTA”), Jacobs Architects/Engineers, Inc., and Jacobs Consultancy

Inc. (collectively, “Jacobs” or the “Jacobs Entities”) (the three defendants are referred to

collectively herein as “Defendants”), and states and alleges as follows:




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                                    NATURE OF THE CASE

          1.     Defendants are design professionals engaged by, or on behalf of, Princeton to

provide professional design services related to the design and construction of The Andlinger

Center for Energy and the Environment (“Andlinger” or the “Project”). Princeton engaged

TWBTA to serve as the project architect, and TWBTA, in turn, engaged Jacobs as engineering

sub-consultants for the design of the Project as well as other sub-consultants who are not named

herein.

          2.     Defendants TWBTA and Jacobs (collectively, the “Design Team”) failed to

perform their professional design responsibilities in accordance with the prevailing standard of

care, resulting in unnecessary and excessive additional costs and extensive project delays.

Further, the Design Team failed to meet the Schedule Milestones set forth in the prime design

contract and failed to design to budget as contractually required and, therefore, breached their

contracts. By this action, Princeton seeks to recover the damages it has incurred as a result of

Defendants’ professional negligence and breach of contract.

                                      THE PARTIES
          3.     Princeton is a non-profit educational institution, existing under the laws of the

State of New Jersey, with its principal place of business located at One Nassau Hall, Princeton

University, Princeton, New Jersey 08544.

          4.     Upon information and belief, TWBTA is a limited liability partnership organized

under the laws of the State of New York, with its principal place of business located at 222

Central Park South, New York, New York 10019. TWBTA provided architectural services

related to the Project.




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        5.       Upon information and belief, Jacobs Architects/Engineers, Inc. (“Jacobs

Architects/Engineers”) is a corporation organized under the laws of the State of Delaware, with

its principal place of business located at 777 Main Street, Fort Worth, Texas 76102. Jacobs

Architects/Engineers was a sub-consultant of TWBTA that provided engineering services related

to the Project, specifically with respect to scientific laboratory spaces.

        6.       Upon information and belief, Jacobs Consultancy Inc. (“Jacobs Consultancy”) is

a corporation organized under the laws of the State of Texas, with its principal place of business

located at 5995 Rogerdale Road, Houston, Texas 77072 and an office located at 100 Walnut

Avenue, Suite 604, Clark, NJ 07066. Jacobs Consultancy was a sub-consultant of TWBTA that

provided engineering services related to the Project, specifically with respect to scientific

laboratory spaces.

                                 JURISDICTION AND VENUE

        7.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1332, as there is complete diversity between the parties and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

        8.       The Court has personal jurisdiction over TWBTA because TWBTA has

contractually consented to such jurisdiction. Article XVII (c) of the agreement to perform

architectural design services for the Project entered into between Princeton and TWBTA, dated

February 12, 2009 (the “Design Contract”) provides for the exclusive jurisdiction in the State or

Federal courts of New Jersey for actions arising under the Design Contract. Further, this Court

has personal jurisdiction over TWBTA because it conducted business in the state and Plaintiff’s

cause of action relates to and arises out of the business that it conducted in the state, and it has




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availed itself of New Jersey laws by negotiating the Design Contract and performing the design

services required as Project architect for the Project.

        9.       The Court has personal jurisdiction over Jacobs Architects/Engineers because it

has consented to jurisdiction pursuant to Section 8.2 of its agreement with TWBTA, whereby

Jacobs Architects/Engineers agreed to participate in whatever dispute resolution process for this

matter to which TWBTA is a party or participant. In addition, the Court has personal jurisdiction

over Jacobs Architects/Engineers because it conducted business in the state and Plaintiff’s cause

of action relates to and arises out of the business that it conducted in the state, and it has availed

itself of New Jersey laws by performing engineering services required for the Project.

        10.      The Court has personal jurisdiction over Jacobs Consultancy because it has

consented to jurisdiction pursuant to Section 8.2 of its agreement with TWBTA, whereby Jacobs

Consultancy agreed to participate in whatever dispute resolution process for this matter to which

TWBTA is a party or participant. In addition, the Court has personal jurisdiction over Jacobs

Consultancy because it conducted business in the state and Plaintiff’s cause of action relates to

and arises out of the business that it conducted in the state, and it has availed itself of New Jersey

laws by performing engineering services required for the Project.

        11.      Venue is proper in the District of New Jersey pursuant to 28 U.S.C. §1391(b)(2).

                      ALLEGATIONS COMMON TO ALL COUNTS

        12.      In 2008, Princeton issued an RFP for the design and construction of the Andlinger

Center for Energy and the Environment, a state-of-the-art, 129,000 square foot facility for

research and teaching in the areas of sustainable energy-technology development, energy

efficiency, and environmental protection and remediation.         Andlinger would bring together

faculty members from various departments and interdisciplinary centers, including Chemical



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Engineering, Electrical Engineering, Civil and Environmental Engineering, Mechanical and

Aerospace Engineering, and the Princeton Institute for Science and Technology of Materials,

among others, in a world-class facility devoted to research and teaching in the areas of energy

and the environment.

        13.      On or about February 12, 2009, Princeton engaged TWBTA to perform

architectural design services for the Project pursuant to the Design Contract. A copy of the

contract between Princeton and TWBTA for Design Services for the Andlinger Center for

Energy & Environment, Contract No. FC0003914W, dated February 12, 2009, is attached hereto

as Exhibit A.

        14.      In order to perform and complete the design services necessary for the Project,

TWBTA engaged Jacobs Architects/Engineers and Jacobs Consultancy as well as other sub-

consultants.

        15.      On or about July 11, 2011, Princeton engaged F.J. Sciame Construction, Inc.

(“Construction Manager”), to act as construction manager to construct the Project.

        16.      Project design commenced in 2009. Construction commenced in 2012 and was

substantially completed on January 1, 2016.

                                       The Design Contract

        17.      The Design Contract sets forth the terms of the agreement between Princeton and

TWBTA, including setting forth the standard of care.

        18.      Article VI(a) of the Design Contract, which established the Standard of Care,

provides that:

                 Standard of Care. Architect-Engineer shall perform the Services
                 hereunder this Agreement in accordance with the standards of skill and
                 care generally exercised by other design professionals in the same locale
                 acting under similar circumstances and conditions.


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        19.      Article VI(b) (Project Administration Services) of the Design Contract, which

sets forth TWBTA’s administration obligations, provides that:

                 Project Administration Services. The Architect-Engineer shall provide
                 all project administration services necessary to facilitate the orderly
                 progress of the Project, including attending Project meetings,
                 communicating with others as appropriate, monitoring progress and
                 issuing progress reports to Princeton University, supervising Architect-
                 Engineer’s in-house personnel, directing Architect-Engineer’s Consultants
                 and coordinating and managing information flow and decision-making.
                 (Emphasis supplied).

        20.      Article VI(d) (Project Cost Control) of the Design Contract provides that:

                 (1) Duty to Design the Project Within the Construction Budget.
                 Architect-Engineer shall design the Project so that the Construction Cost
                 to construct the Project in accordance with the Construction Documents
                 prepared by the Architect-Engineer and its Consultants does not exceed
                 the Construction Budget. The Architect-Engineer acknowledges that the
                 Construction Budget includes adequate provision for the construction of
                 all elements of the Project designed by or specified by the Architect-
                 Engineer and its Consultants as contemplated by the Project Description
                 attached as Part II of the Contract.

        21.      Article VI(f) (Coordinated Services) of the Design Contract, which sets forth

TWBTA’s obligations to coordinate its services and those of its sub-consultants, provides that:

                 Coordinated Services. The Architect-Engineer acknowledges that it is
                 essential that all Services in connection with the Project be coordinated,
                 including services provided by Princeton University. The Architect-
                 Engineer shall coordinate the services of all its architects, engineers, Basic
                 Consultants and Specialized Consultants for the Project, shall review and
                 check all drawings and specifications prepared by architects, engineers,
                 Basic Consultants and Specialized Consultants for the Project, and shall
                 make modifications as necessary, to assure that they are integrated into a
                 coordinated and complete set of documents prior to each submission. In
                 addition, the Architect-Engineer shall coordinate its Services with services
                 provided by Princeton University and Princeton University’s in-house
                 architects.

        22.      Article VII(f) (Construction Documents Phase Services) of the Design Contract

provides, at Article VII(f)(3), that:



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                 Drawings. Drawings shall document the scope of work and details for the
                 project, and shall be coordinated both internally, with the Consultants, and
                 with the specifications. Construction Documents shall, in accordance with
                 the Standard of Care set forth in Article VI(a), be in compliance with those
                 codes, ordinances, statutes, regulations and laws applicable to the
                 Architect-Engineer’s Services, except to the extent expressly and
                 specifically stated in detail in writing by Architect-Engineer at the time of
                 such submission.

         23.     Article VII(h) (Construction Phase Services – Administration of the

Construction Contract) of the Design Contract, which sets forth the requirements for

TWBTA’s services during the Construction Phase, provides, among other things, that TWBTA

shall:

                 (i) administer the contract between Princeton and the Contractor in
                 accordance with the Construction Documents;

                 (ii) respond to requests for information by way of sketches or other
                 supplemental instructions without causing construction delays and within
                 the time agreed to between Contractor and the Architect-Engineer, but
                 shall not result in construction delays; and

                 (iii) revise the Construction Documents due to, among other things, a
                 reasonable number of Princeton’s proposed changes to the Construction
                 Documents.

         24.     Article VII(h)(4)(ii) (Due to Architect-Engineer’s Error) of the Design Contract

also provides, in relevant part, that changes to Construction Documents caused by TWBTA’s

error, omission or failure to coordinate must be made promptly and at no additional cost to

Princeton:

                 [i]f the Construction Documents must be changed to correct Architect-
                 Engineer’s error, omission, or failure to coordinate the drawings and
                 specifications comprising the Construction Documents, Architect-
                 Engineer will make the change promptly upon becoming aware of the
                 need for a correction, as part of its Basic Services, and at no additional
                 cost to Princeton University. Architect-Engineer will work with Princeton
                 University and the Contractor to minimize the impact of the resulting
                 changes on the cost of the Project and the Construction Schedule.



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        25.      Article VII(h)(10) (Submittals) of the Design Contract provides, in relevant part,

that TWBTA shall review all submittals, including shop drawings, product data, and samples,

within ten (10) days of receipt of first submissions and subsequent submittals of same, and that

the shop drawing review process shall not be used by the Architect-Engineer to enhance or

modify the design of the project. Article VII(h)(10) provides:

                 Submittals. The Architect-Engineer shall review and/or approve the
                 Contractor’s submittals such as shop drawings, product data and samples.
                 The Architect-Engineer’s action shall be taken within ten (10) working
                 days of receipt of first submissions and subsequent submittals, unless a
                 shorter period is agreed to with respect to particular submittals. Review of
                 such submittals is not conducted for the purpose of determining accuracy
                 and completeness of other details such as dimensions and quantities or for
                 substantiating instructions for installation or performance of equipment or
                 systems by the Contractors, all of which remain the responsibility of the
                 Contractor. The Architect-Engineer’s review shall not constitute approval
                 of safety precautions or programs, or of construction means, methods,
                 techniques, sequences or procedures. The Architect-Engineer’s approval
                 of a specific item shall not indicate approval of an assembly of which the
                 item is a component. When professional certification of performance
                 characteristics of materials, systems or equipment is required by the
                 Construction Documents, the Architect-Engineer shall be entitled to rely
                 upon such certification to establish that the material, systems or equipment
                 will meet the performance criteria required by the Construction
                 Documents. The shop drawing review process shall not be used by the
                 Architect-Engineer to enhance or modify the design of the project.

        26.      Article VII(d), (e), (f), (g), and (h) of the Design Contract further required

TWBTA to provide its services in accordance with customary milestones broken down between

the design phase, bidding and negotiation phase, and construction phase as follows:

                 (i)    During the Schematic Design Phase, TWBTA would submit
                 Schematic Design Documents that included, among other things,
                 preliminary architectural, mechanical, electrical, civil, and landscape
                 designs within the prescribed Construction Budget of $102,290,000.00 for
                 Princeton’s review and approval;

                 (ii)    During the Design Development Phase, TWBTA would submit
                 Design Development Documents that included, among other things,
                 architectural, mechanical, electrical, civil, and landscape designs that


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                 established the final scope of each discipline for Princeton’s review and
                 approval;

                 (iii) During the Construction Documents Phase, TWBTA would submit
                 Construction Documents that included, among other things, fully
                 coordinated drawings documenting the scope and detail for the Project;

                 (iv)   During the Bidding and Negotiation Phase TWBTA would, among
                 other things, assist Princeton in evaluating and awarding bids to
                 contractors to construct the Project; and

                 (v)     During the Construction Phase, TWBTA would, among other
                 things, review contractor submittals including shop drawings, respond to
                 questions from the contractor concerning the design, prepare further
                 sketches and direction to the contractor, attend project meetings, review
                 the contractor’s applications for payment, and regularly visit the site and
                 review the progress and quality of construction, and report back to
                 Princeton.

        27.      Article VI(e)(3) (Consultant Agreements) of the Design Contract requires

TWBTA to include a provision in its subcontracts with consultants, like the Jacobs Entities,

expressly designating Princeton as a third-party beneficiary of those subcontracts, stating, in

relevant part:

                 Consultant Agreements. Architect-Engineer, shall upon request, provide
                 to Princeton University complete and correct copies of Architect-
                 Engineer's agreement with each Consultant, including amendments
                 thereto. Architect-Engineer shall enter into an agreement with each
                 Consultant pursuant to which the Consultant assumes toward the
                 Architect-Engineer all of the obligations that the Architect-Engineer
                 assumes toward Princeton University under the Contract. In addition, each
                 contract shall include the following provisions:

                          (i)    An agreement by the Architect-Engineer and Consultant
                          that Princeton University is a third-party beneficiary of the
                          agreement, entitled to enforce any rights thereunder for its benefit,
                          and that Princeton University shall have the same rights and
                          remedies vis-à-vis such Consultants that the Architect-Engineer
                          may have, including, but not limited to, the right to be
                          compensated for any loss, expense or damage of any nature
                          whatsoever incurred by Princeton University, resulting from any
                          breach of such agreements by the Consultant, any breach of
                          representations arising out of such agreements and any negligent


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                          error or omission of such Consultant in the performance of any of
                          its professional services obligations under such agreements; . . . .

        28.      The Design Contract, at Article XI (Time of Performance), also required that

TWBTA perform its Services in accordance with the Milestone Design Schedule:

        29.      Time is of the essence for this Contract. The Architect-Engineer shall perform its

services under the Contract in accordance with the Milestone Design Schedule set forth below

and the Design and Construction Schedule as described in Article VI(c).


                Project Phase                                        Milestone Dates
 Schematic Design Phase                                              December 25, 2009

     SD Drawings Complete                                            October 23, 2009

     SD Complete/Approval to Proceed to DD                           January 22, 2010

 Design Development Phase                                            October 13, 2010

 Construction Documents Phase                                        September 14, 2011

     50% Documents Complete                                          February 4, 2011

     85% Documents Complete                                          June 17, 2011

     100% Documents Complete                                         September 14, 2011

     GMP Agreement                                                   October 7, 2011

 Bidding & Negotiation Phase                                         November 4, 2011

 Construction Phase                                                  February 27, 2015

 Close-Out Phase                                                     March 2, 2016


        30.      Finally, the Design Contract calls for TWBTA to indemnify Princeton for

TWBTA’s negligent acts. Article XII(h)(1) (Indemnification) of the Design Contract states, in

relevant part:




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                 To the fullest extent permitted by the laws of the State of New Jersey . . .
                 the Architect-Engineer (the “Indemnitor” for purposes of interpreting this
                 Paragraph) agrees to indemnify and hold harmless, and pay for the defense
                 of Princeton University, its trustees, officers and employees, and any
                 affiliated or related entities . . . against all claims, loss, liability, damage,
                 costs and expenses, including reasonable attorney’s fees, that are alleged
                 to have occurred in whole or in part arise as a result of, but only to the
                 extent caused by and in proportion to, the negligent acts or omissions of
                 the Indemnitor, its agents, consultants, employees, or representatives.
                 (Emphasis omitted).

                           The Design Team’s Unsatisfactory Performance

        31.      From the outset, TWBTA failed to properly and efficiently coordinate its work

with that of its sub-consultants and to manage the work of its sub-consultants.

        32.      TWBTA’s failure to coordinate its subconsultants and failure to properly manage

the design process in a timely manner delayed the completion of the design, and the

administration of the construction. TWBTA’s failures plagued the Project, causing Princeton to

incur additional costs and suffer project delays.

        33.      Further, over the course of the design process, the Design Team repeatedly

submitted designs that exceeded the construction budget for the Project. In fact, the initial

design submission exceeded the design to budget by over fifty percent (50%). The Design

Development submission and 50% and 85% construction documents were also over budget.

        34.      Submission of grossly over-budget designs required additional rework and

extensive value engineering at each design milestone including Schematic Design, Design

Development, 50% Construction Documents and 85% Construction Documents to achieve a

construction budget that was acceptable to Princeton.

        35.      Over the course of the Construction Document Phase, drawings, specifications,

and other work product prepared by the Design Team were routinely incomplete and deficient.

                           TWBTA Failed to Submit Complete Documents


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                                    In Accordance with Contract Milestones

           36.      Over the course of the Construction Document Phase, TWBTA’s drawings,

   specifications, and other work product were routinely incomplete, deficient and late.

           37.      TWBTA failed to meet the following key Contract Milestones:


                                  % Complete                            Contract Milestone

            Schematic Design Phase                              December 25, 2009

              SD Drawings Complete                              October 23, 2009

              SD Complete/Approved to Proceed to DD             January 22, 2010

            Design Development Phase                            October 13, 2010

            85% Documents Complete                              June 17, 2011

            100% Documents Complete                             September 14, 2011

            GMP Agreement                                       October 7, 2011



           38.      Instead, TWBTA issued their Construction Documents as follows:

               % Complete                               Contract Milestone       Date of Submission

Design Documents Complete                               -                        -

  85% Documents Complete                                June 17, 2011            August 12, 2011

  100% Documents Complete – First Release               September 14, 2011       January 13, 2012

100% Documents Complete – Second Release                September 14, 2011       June 15, 2012

  GMP Agreement                                         October 7, 2011         March 12, 2012



           39.      As set forth above, on August 12, 2011, the Design Team submitted drawings and

   specifications to Princeton that the Design Team claimed to be 85% complete (and upon which

   the Construction Manager’s guaranteed maximum price (“GMP”) was to be based). The Design

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Team’s missing details and coordination resulted in the issuance by TWBTA of eleven (11) Bid

Addenda and four (4) Construction Addenda before the end of 2011. As a result, Princeton was

forced to require the Construction Manager to delay the buyout of certain key trade

subcontractors to provide more time for the Design Team to complete its work.

        40.      After the submission on August 12, 2011, TWBTA issued the following bid

addenda:

                 a.       Bid Addenda 1–3           9/27/11

                 b.       Bid Addenda 5–8           9/30/11

                 c.       Bid Addenda 4             10/6/11

                 d.       Bid Addenda 9             10/31/11

                 e.       Bid Addenda 10            11/7/11

                 f.       Bid Addenda 11            12/2/11

        41.      Prior to construction TWBTA issued the following construction addenda:

                 a.       Construction Addendum 1   9/26/11

                 b.       Construction Addendum 2   9/27/11

                 c.       Construction Addendum 3   10/12/11

                 d.       Construction Addendum 4   9/26/11

        42.      Like the 85% set, the 100% Construction Documents package that TWBTA

issued on January 13, 2012 were not complete.           The drawings were missing details and

coordination. Thus, after this package was issued, TWBTA issued more construction addenda:

                 a.       Construction Addendum 6 & 7       2/14/12

                 b.       Construction Addendum 8           2/17/12

                 c.       Construction Addendum 12 & 13     3/01/12




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        43.      Princeton could not finalize the GMP with the Construction Manager until March

12, 2012 – five months after the scheduled milestone. Construction commenced on or about

February 27, 2012.

        44.      The 100% Construction Documents were still not complete. TWBTA issued the

following construction addenda after the GMP was executed:

                 a.       Construction Addendum 9          3/14/12

                 b.       Construction Addendum 14         3/23/12

                 c.       Construction Addendum 10         4/20/12

                 d.       Construction Addendum 5          5/01/12

                 e.       Construction Addendum 11         5/03/12

                 f.       Construction Addendum 16         5/22/12

                 g.       Construction Addendum 15         6/01/12

        45.      Princeton’s numerous admonitions to TWBTA to complete the drawings properly

were not heeded. TWBTA issued a final consolidated drawing set that included these addenda

on June 15, 2012 (the “Consolidated Set”), which was also labeled as the 100% Construction

Documents. The Design Team issued one last construction addendum four months after the

Consolidated Set was issued – Construction Addendum 8 – on October 10, 2012.

        46.      Yet, the revised set of 100% Construction Documents was still incomplete --

resulting in significant rework and redesign by the Design Team on an on-going basis during the

Construction Phase of the Project.

        47.      Contrary to the express provisions of the Design Contract, TWBTA and the

Design Team often used trade subcontractor shop drawings, in particular, mechanical trades’

shop drawings, as an opportunity to revise the design and finish incomplete or incorrect designs

contained in the construction drawings.


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                    The Design Team Issued 87 ASIs That Required Revisions
                              to More Than a Thousand Drawings

        48.      The failure of TWBTA and the Jacobs Entities to properly, timely, and fully

complete the project design resulted in the Design Team’s issuance of scores of Architect’s

Supplemental Information notices (each an “ASI”) to the Construction Manager. In fact, the

Design Team used ASIs and Addendum - over the one-year time period subsequent to the

submission of 85% Construction Documents - to complete the design work, including

coordination among the subconsultant disciplines.

        49.      After the so-called 100% Construction Documents were issued, TWBTA issued

approximately eighty-seven (87) ASIs from June 15, 2012 until June 21, 2017. These ASIs

fundamentally revised and modified the 100% set of Construction Documents, and contained

revisions that captured missing or incorrect details and missing design coordination required for

the construction of the Project. Moreover, seven (7) of the ASIs were revised and resubmitted

with even more design revisions.

                                TWBTA’s Incomplete and Deficient Work
                               Resulted in No Less than 462 Change Orders

        50.      The impact of the cascade of ASIs and other design changes was extensive. The

ASIs and the Design Team’s other incomplete or deficient work resulted in the issuance of no

less than four hundred and sixty-two (462) out of the Project’s six hundred and fifty-four (654)

Change Order Requests (“CORs”) to the Construction Manager.

        51.      Of the four hundred and sixty-two (462) design related CORs, four hundred and

thirty-eight (438) CORs are related to TWBTA’s and/or Jacobs’ errors and omissions; seventeen

(17) CORs are related to additional Building Information Modeling (“BIM”) services as a result

of design revisions; and seven (7) CORs are related to delays that the Design Team caused.



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        52.      Thus, Princeton has been damaged in an amount no less than $3,400,000 (the

“Errors and Omissions Costs”) resulting from the four hundred and thirty-eight (438) CORs

related to the Design Team’s errors and omissions. The Design Team is responsible for these

Errors and Omissions Costs, which would not have been incurred had the Design Team delivered

a set of fully detailed and complete coordinated drawings from the outset of the Project.


                                  Additional BIM Services & Costs

        53.      The Design Contract required that TWBTA deliver a full model of the Project

using Building Information Modeling (“BIM”). The Design Contract specifically provides, in

relevant part, in Part II, Project Description (at page 4 - 5):

                 Building Information Modeling

                 The selected Architect will implement a design and documentation
                 process that is fully coordinated with all consultants. It is highly desired
                 that the Architect will utilize three-dimensional, real-time, dynamic
                 building modeling software to increase productivity in building design and
                 construction. The process is to produce a Building Information Model
                 (BIM), which encompasses building geometry, spatial relationships,
                 geographic information, and quantities and properties of the building
                 components. It is anticipated that the Architect will work with Princeton
                 University at the earliest inception of the project to establish an acceptable
                 BIM standard for the project.

        54.      The original BIM coordination that the Construction Manager and its

subcontractors carried out required extensive revisions by the Construction Manager and

mechanical subcontractors because of the incomplete drawings and volume of revisions received

from the Design Team.

        55.      The ASIs that TWBTA issued after issuance of the Consolidated Set resulted in

seven (7) change order requests to Princeton by the Construction Manager for revisions required

to the BIM Construction Model. These changes order were as follows:

                 (i)      CO 44                 MMC Contractors                $   4,521

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                 (ii)     CO 171A R1          Barham Group                $ 523,224

                 (iii)    CO 171B R1          MMC Contractors             $ 263,639

                 (iv)     CO 171C A           Unity International Group   $ 212,077

                 (v)      CO 171C BR1         Unity International Group   $ 196,203

                 (vi)     CO 233B             Sciame                      $ 156,606

                 (vii)    CO 249 R1           Majek                       $   7,681

                 Total:                                                   $1,363,951

        56.      Thus, the ASIs, which fundamentally changed elements of the design over an

extended period of time, resulted in design errors and omissions and required the Construction

Manager and its subcontractors to extensively and repeatedly rework previously completed

portions of the BIM model. As a result, Princeton was required to pay the Construction Manager

an additional $1,363,951 for additional BIM services, which were evidenced by seven (7) CORs

(the “Additional BIM Costs”).

        57.      These additional BIM services would not have been necessary if the Design Team

delivered a complete set of coordinated drawings from the outset of the Project. Thus, the

Design Team is responsible for the Additional BIM Costs.

               The Design Team Delayed the Project by No Less than Five Months

        58.      TWBTA’s failure to provide complete and coordinated documents to the

construction manager on June 15, 2012, TWBTA’s failure to coordinate the work of the Design

Team and the excessive number of Design Team related changes and ASIs resulted in excessive

costs and delays to the construction of the Project.

        59.      One extreme example of the delays caused by the design team includes ASI 36,

which impacted the execution of the project as follows: On or about December 3, 2013, TWBTA

issued ASI 36, which proposed modifications to the clean room space of the Project—a highly

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specialized laboratory space equipped with a state-of-the-art air filtration system that filters

airborne dust 1,000-fold for specialized nanotechnology research, such as the creation of plastic-

based solar cells and superconducting materials.

        60.      Jacobs, the specialty laboratory sub-consultants, had previously selected and

incorporated galvanized steel for the clean room exhaust duct material in the drawings issued for

construction. However, on or about October 11, 2013, while construction was ongoing, Jacobs

wrote to Princeton recommending a change to the duct material from galvanized steel to PTFE-

lined stainless steel ductwork.

        61.      On Jacobs’ recommendation, TWBTA prepared and issued ASI 36 in December

2013, which provided for the change in material from galvanized to PTFE-lined stainless steel.

Nevertheless, throughout January 2014, Princeton and Construction Manager urged Jacobs to

further evaluate and consider whether the change to PTFE-lined ductwork was necessary.

        62.      As a result of indecision by TWBTA and the Design Team concerning the duct

material, Princeton engaged an independent laboratory consultant (the “Independent

Consultant”) to review the proposed PTFE-lined duct material. The Independent Consultant

ultimately recommended a change from the original galvanized steel ductwork to stainless steel

ductwork, but rejected the PTFE-lined duct that the Design Team proposed.

        63.      ASI 36, Revision 1, which TWBTA issued on or about February 1, 2014,

memorialized the ultimate change from galvanized steel to stainless steel. Later, on or about

March 21, 2014, ASI 36, Revision 2 changed the stainless steel ductwork from welded to bolted

connections.




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        64.      The Design Team’s months-long delay in finalizing the duct material change in

ASI 36 was further compounded by more incomplete drawings that were missing, among other

things, final tool connections and exhaust duct drops in the clean room, exacerbating the delays.

        65.      As a result of the Design Team’s final ductwork changes in ASI 36 and

incomplete drawings, the Construction Manager and subcontractors’ coordination of the BIM

model and issuance of the shop drawings was delayed.

        66.      Thereafter, after months of additional shop drawing review and revisions by the

Design Team, the final shop drawings related to the ductwork were completed, approved, and

released for fabrication in August 2014. This process of BIM coordination, shop drawings and

fabrication delayed the installation of exhaust ductwork in the cleanroom by at least 3.5 months.

                                             Delays

        67.      The Project was substantially completed on January 1, 2016, approximately ten

months behind schedule. Total delays attributable to Design Team are no less than five (5)

months.

        68.      As a result of the Design Team-caused delays, including but not limited to ASI

36, Princeton incurred more than $6,000,000 in damages (the “Delay Damages”).

                                          COUNT ONE
                               (Breach of Contract Against TWBTA)
        69.      Princeton incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as though set forth at length herein.

        70.      TWBTA materially breached the Design Contract by failing to perform its

services in accordance with the terms of the Design Contract. Specifically, TWBTA materially

breached the Design Contract by, among other things:




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                      a. failing to adequately prepare plans and specifications for the construction
                         of the Project so as to prevent the numerous errors, omissions, delays, and
                         other defects that developed on the Project;

                      b. failing to adequately manage, supervise, and oversee the design services,
                         including the preparation of the plans and specifications by its consultants,
                         including but not limited to, Jacobs, so as to prevent the numerous errors,
                         omissions, delays, and other defects that developed on the Project; and

                      c. in other respects to be proved at trial.

        71.      Princeton has fulfilled all of its contractual obligations and any and all conditions

precedent to asserting these claims against TWBTA.

        72.      As a direct and proximate result of TWBTA’s defective performance and breach

of the Design Contract, Princeton has incurred significant expense related to the numerous

errors, omissions, delays, and other defects that developed on the Project, including but not

limited to the Errors and Omissions Costs, Additional BIM Costs, and Delay Damages, as well

as other direct damages in an aggregate amount of not less than $10,700,000.

        WHEREFORE, Princeton demands judgment against TWBTA on this Count for

compensatory and monetary damages as set forth above, attorneys’ fees and costs, pre-judgment

and post-judgment interest at the highest rate permitted by applicable New Jersey law, and such

other and further relief as the Court deems just and proper.

                                             COUNT TWO
                                    (Negligence Against TWBTA)
        73.      Princeton incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as though set forth at length herein.

        74.      In performing consultative services related to the Project, TWBTA provided

architectural advice upon which Princeton reasonably relied, and over which Princeton exercised

no direct control.



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        75.      In performing its consultative services for the Project, TWBTA owed Princeton a

reasonable duty of care to perform its architectural services in accordance with the reasonable

standard of care expected of similarly situated professionals performing such work on

comparable projects.

        76.      TWBTA materially breached its duty of care to Princeton by, among other things:

                 (a)     failing to adequately prepare plans and specifications for the construction
                 of the Project so as to prevent the numerous errors, omissions, delays, and other
                 defects developed on the Project;

                 (b)    failing to adequately manage, supervise, and oversee the services,
                 including the preparation of the plans and specifications by its consultants,
                 including but not limited to, Jacobs, so as to prevent the numerous errors,
                 omissions, delays, and other defects that developed on the Project; and

                 (c)      in other respects to be proved at trial.

        77.      As a direct and proximate result of TWBTA’s material breach of duty to

Princeton, Princeton has incurred significant expense related to the numerous errors, omissions,

delays, and other defects that developed on the Project, including but not limited to the Errors

and Omissions Costs, Additional BIM Costs, and Delay Damages, as well as other direct

damages, in an aggregate amount of not less than $10,700,000.

        WHEREFORE, Princeton demands judgment against TWBTA on this Count for

compensatory and monetary damages as set forth above, attorneys’ fees and costs, pre-judgment

and post-judgment interest at the highest rate permitted by applicable New Jersey law, and such

other and further relief as the Court deems just and proper.

                                      COUNT THREE
                   (Declaratory Judgment – Indemnification Against TWBTA)

        78.      Princeton incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as though set forth at length herein.


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        79.      Princeton is entitled to a declaration under N.J.S.A. 2A:16-50, et seq., of the

rights, duties, and responsibilities of the parties under the Design Contract.

        80.      An actual and justiciable dispute exists between the parties for which Princeton

lacks an adequate remedy at law and is entitled to a declaration of rights from the Court.

        81.      The Design Contract requires TWBTA to indemnify Princeton for all “loss[es],

liability, damages, cost and expenses” incurred by Princeton as a result of the negligent acts or

omissions of TWBTA and/or the Jacobs Entities.

        82.      As a result of TWBTA’s negligence, Princeton has incurred damages and costs

related to design errors and omissions, including but not limited to the Errors and Omissions

Costs, Additional BIM Costs, and Delay Damages.

        WHEREFORE, Princeton demands judgment against TWBTA on this Count, declaring

that TWBTA must indemnify and hold harmless, and pay for the defense of, Princeton for all

claims, loss, liability, damage, costs and expenses, including reasonable attorney’s fees, that are

alleged to have occurred in whole or in part arise as a result of, but only to the extent caused by

and in proportion to, the negligent acts or omissions of TWBTA and/or the Jacobs Entities.

                                      COUNT FOUR
       (Third Party Beneficiary Breach of Contract Against the Jacobs Entities)
        83.      Princeton incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as though set forth at length herein.

        84.      Princeton was an intended and foreseeable beneficiary of the contracts under

which TWBTA retained both Jacobs Entities to evaluate technical considerations related to the

design and construction of the Project.

        85.      The Jacobs Entities materially breached their contracts with TWBTA by failing to

adequately consult on and evaluate technical considerations related to the design and

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construction of the Project and to coordinate their services with those of TWBTA so as to

prevent the numerous errors, omissions, delays and other defects that developed on the Project,

and in other respects to be proved at trial.

          86.    Princeton has fulfilled its contractual obligations to TWBTA and/or either of the

Jacobs Entities, if any, and all conditions precedent to asserting these claims against TWBTA

and the Jacobs Entities with this Court.

          87.    As a direct and proximate result of the Jacobs Entities’ material breach of their

contracts with TWBTA, Princeton has been damaged in an amount to be determined at trial in

that it has incurred significant expense related to the numerous errors, omissions, delays, and

other defects that developed on the Project, including but not limited to the Errors and Omissions

Costs, Additional BIM Costs, Delay Damages, as well as other direct damages and consequential

losses.

          WHEREFORE, Plaintiff demands judgment against the Jacobs Entities on this Count

for compensatory and monetary damages as set forth above, attorneys’ fees and costs, pre-

judgment and post-judgment interest at the highest rate permitted by applicable New Jersey law,

and such other and further relief as the Court deems just and proper.

                                           COUNT FIVE
                               (Negligence Against the Jacobs Entities)
          88.    Princeton incorporates by reference the allegations set forth in the preceding

paragraphs of the Complaint as though set forth at length herein.

          89.    In performing consultative services related to the Project, the Jacobs Entities

provided technical engineering services upon which Princeton reasonably relied, and over which

Princeton exercised no direct control.

          90.    In performing their consultative services for the Project, the Jacobs Entities owed


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Princeton a reasonable duty of care to perform their technical engineering and/or architectural

work in accordance with the reasonable standard of care expected of similarly situated

professionals performing such work on comparable projects.

          91.    The Jacobs Entities materially breached their duty of care to Princeton by failing

to adequately consult on and evaluate technical considerations related to the design and

construction of the Project and to coordinate their services with those of TWBTA so as to

prevent the numerous errors, omissions, delays, and other defects that developed on the Project,

and in other respects to be proved at trial.

          92.    As a direct and proximate result of the Jacobs Entities’ material breach of duty to

Princeton, Princeton has been damaged in an amount to be determined at trial in that it has

incurred significant expense related to the numerous errors, omissions, delays, and other defects

that developed on the Project, including but not limited to the Errors and Omissions Costs,

Additional BIM Costs, Delay Damages, as well as other direct damages and consequential

losses.

          WHEREFORE, Plaintiff demands judgment against the Jacobs Entities on this Count

for compensatory and monetary damages as set forth above, attorneys’ fees and costs, pre-

judgment and post-judgment interest at the highest rate permitted by applicable New Jersey law,

and such other and further relief as the Court deems just and proper.

                                                      FOX ROTHSCHILD LLP
                                                      Attorneys for Plaintiff
                                                      The Trustees of Princeton University




Dated: December 10, 2019                        By:
                                                      Sarah B. Biser, Esq.
                                                      Jeffrey M. Pollock, Esq.


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                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury as to all issues so triable in the present matter.

                                                       FOX ROTHSCHILD LLP
                                                       Attorneys for Plaintiff
                                                       The Trustees of Princeton University




Dated: December 10, 2019                       By:
                                                       Sarah B. Biser, Esq.
                                                       Jeffrey M. Pollock, Esq.


                               DESIGNATION OF TRIAL COUNSEL

        Sarah B. Biser, Esq., is designated as trial counsel on behalf of Plaintiff, The Trustees of

Princeton University.

                                                       FOX ROTHSCHILD LLP
                                                       Attorneys for Plaintiff
                                                       The Trustees of Princeton University




Dated: December 10, 2019                               By:
                                                               Sarah B. Biser, Esq.
                                                               Jeffrey M. Pollock, Esq.




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